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             In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: August 23, 2019

* * * * * * *                   *   *    *    *   *    *
ROBERT RAICHE,                                         *
                                                       *                 No. 16-325v
                  Petitioner,                          *
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Tetanus-Diphtheria-Acellular
AND HUMAN SERVICES,                                    *                 Pertussis (“Tdap”); Neuromyelitis
          Respondent.                                  *                 Optica; Transverse Myelitis (“TM”);
                                                       *                 Stipulation Decision
*    * *     *    *    *   *    *   *    *    *   *    *

Ronald C. Homer, Conway, Homer, P.C. (WA), Boston, MA, for petitioner.
Christine M. Becer, U.S. Department of Justice, Washington, D.C., for respondent.

                                     DECISION FOR STIPULATION1

        On March 14, 2016, Robert Raiche (“petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program.2 Petition at Preamble. Petitioner received
a tetanus-diphtheria-acellular-pertussis (“Tdap”) vaccine on October 15, 2013. Id. at 1;
Stipulation at ¶ 2 (ECF No. 97). Petitioner alleged that as a result of receiving the vaccinations
he suffered neuromyelitis optica (“NMO”) and transverse myelitis (“TM”). Petition at ¶ 1;
Stipulation at ¶ 4.

        On August 22, 2019, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation at ¶ 7. Respondent denies that
petitioner’s alleged injuries are caused by the vaccines. Id. at ¶ 6. Maintaining their respective

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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positions, the parities nevertheless now agree that the issues between them shall be settled and
that a decision should be entered awarding compensation to petitioner according to the terms of
the stipulation attached hereto as Appendix A. Id. at ¶ 7.

The stipulation awards:

        1) A lump sum of $379,367.17, which amount represents compensation for first
           year life care expenses ($37,367.17) and combined lost earnings, pain and
           suffering, and past unreimbursable expenses ($342,000.00), in the form of a
           check payable to petitioner; and

        2) A lump sum of $65,912.07 which amount represents reimbursement of a
           Department of Vermont Health Access (“DVHA”) lien for services rendered on
           behalf of Robert Raiche, in the form of a check payable jointly to petitioner and
           DVHA, and mailed to

                                            HP Financial Services
                                            P.O. Box 1645
                                            Williston, VT 05495
                                            Unique ID #: 819661
                                            Attn: Medicaid Recovery, DVHA

                 Petitioner agrees to endorse this payment to DVHA.

        3) An amount sufficient to purchase the annuity contract described in paragraph
           10.

      These amounts represent compensation for all damages that would be available
under 42 U.S.C. §300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The Clerk of the Court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                                                s/Thomas L. Gowen
                                                                                Thomas L. Gowen
                                                                                Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                         2
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